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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              WESTERN DIVISION


STEPHEN J. STANLEY, JR.,                                CASE NO. 3:19 CV 640

      Plaintiff,

      v.                                                JUDGE JAMES R. KNEPP II

FCA US, LLC,

      Defendant.                                        JUDGMENT ENTRY



      For the reasons stated in the related Memorandum Opinion and Order issued this same

date, the Court GRANTS the Defendant’s Motion for Summary Judgment (Doc. 43).

      IT IS SO ORDERED.



                                         s/ James R. Knepp II
                                         UNITED STATES DISTRICT JUDGE

                                         December 3, 2021
